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                                 WRITTEN TESTIMONY OF MSI ON BILL 4-21
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President
Mark W. Pennak
                                                   February 9, 2021

                 WRITTEN TESTIMONY OF MARK W. PENNAK, PRESIDENT, MSI,
                          IN OPPOSITION TO BILL 4-21 (Corrected)
                 I am the President of Maryland Shall Issue (“MSI”). Maryland Shall Issue is an all-
                 volunteer, non-partisan organization dedicated to the preservation and
                 advancement of gun owners’ rights in Maryland. It seeks to educate the community
                 about the right of self-protection, the safe handling of firearms, and the
                 responsibility that goes with carrying a firearm in public. I am also an attorney and
                 an active member of the Bar of the District of Columbia and the Bar of Maryland. I
                 recently retired from the United States Department of Justice, where I practiced
                 law for 33 years in the Courts of Appeals of the United States and in the Supreme
                 Court of the United States. I am an expert in Maryland firearms Law, federal
                 firearms law and the law of self-defense. I am also a Maryland State Police certified
                 handgun instructor for the Maryland Wear and Carry Permit and the Maryland
                 Handgun Qualification License and a certified NRA instructor in rifle, pistol and
                 personal protection in the home, personal protection outside the home, muzzle
                 loading as well as a range safety officer. I write in OPPOSITION TO BILL 4-21. For
                 the reasons set forth below, this bill is preempted by State law and, if enacted,
                 would be violative of the First Amendment and the Second Amendment of the
                 Constitution. The Council would be well-advised to stay its hand and allow the
                 General Assembly take the lead in these matters.

                 The Bill Is Preempted:

                 State law, MD Code, Criminal Law, § 4-209, broadly preempts “the right of a county,
                 municipal corporation, or special taxing district to regulate the purchase, sale,
                 taxation, transfer, manufacture, repair, ownership, possession, and transportation
                 of: (1) a handgun, rifle, or shotgun; and (2) ammunition for and components of a
                 handgun, rifle, or shotgun.” The statute provides, as an exception, that the locality
                 may regulate these subject matters ‘(i) with respect to minors; (ii) with respect to
                 law enforcement officials of the subdivision; and (iii) except as provided in
                 paragraph (2) of this subsection, within 100 yards of or in a park, church, school,
                 public building, and other place of public assembly.”

                 This bill violates Section 4-209 in multiple ways. First, and perhaps most
                 egregiously, the bill defines a place of public assembly to include “a place where the
                 public may assemble, whether the place is publicly or privately owned.” The bill
                 thus defines public “assembly” as a privately or publicly owned place where people
                 “may assemble” and is thus utterly circular. It includes places where persons “may”
                 assemble, not merely places where people do assemble or even regularly assemble.

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                It could thus include any place, private or public, that people “may” assemble in the
                unknowable future.

                Such an extraordinarily broad, circular definition is no definition at all. It is so
                vague as to violate the Due Process Clause of the Fourteenth Amendment. See
                Giovani Carandola, Ltd. v. Fox, 470 F.3d 1074, 1079 (4th Cir. 2006) (recognizing
                that “[a] statute is impermissibly vague if it either (1) fails to provide people of
                ordinary intelligence a reasonable opportunity to understand what conduct it
                prohibits or (2) authorizes or even encourages arbitrary and discriminatory
                enforcement” (internal quotations omitted). See also Grayned v. City of Rockford,
                408 U.S. 104, 108-109, (1972) (“A vague law impermissibly delegates basic policy
                matters to policemen, judges, and juries for resolution on an ad hoc and subjective
                basis”). This body has an obligation to define regulatory prohibitions, not make
                them so vague as to ensnare the innocent or lead to arbitrary enforcement,
                especially where the law affects Constitutional rights. City of Chicago v. Morales,
                527 U.S. 41, 54 (1999). A statute will be deemed unconstitutionally vague if it (1)
                “fails to give ordinary people fair notice of the conduct it punishes,” or (2) is “so
                standardless that it invites arbitrary enforcement.” Johnson v. United States, 576
                U.S. 591, 595 (2015). The definition of place of public assembly fails that test.

                Even more fundamentally, the bill’s definition of place of public assembly is in
                conflict with Section 4-209. The proviso in Section 4-209 that allows the County to
                regulate firearms in within a 100 yards of “another place of public assembly” must
                read in context. See, e.g., Berry v. Queen, 469 Md. 674, 690, 233 A.3d 42 (2020) (“In
                order to interpret a word’s specific meaning in a particular statute we look to the
                context in which the word is used.”) (citation omitted). That proviso does not allow
                the County to regulate places where people “may” assemble, it allows regulation of
                a place within 100 yards “another place of public assembly,” thus covering specific,
                existing locations where people typically already assemble.

                The rule is that “’when general words in a statute follow the designation of
                particular things or classes of subjects or persons, the general words will usually be
                construed to include only those things or persons of the same class or general nature
                as those specifically mentioned.’” In re Wallace W., 333 Md. 186, 190, 634 A.2d 53
                (1993), quoting Giant of Md. v. State's Attorney, 274 Md. 158, 167, 334 A.2d 107,
                113 (1975). This is simply an application of the canon of ejusdem generis which is
                based on “the supposition that if the legislature had intended the general words to
                be construed in an unrestricted sense, it would not have enumerated the specific
                things.” State v. 158 Gaming Devices, 304 Md. 404, 429 n. 12, 499 A.2d 940 (1985).
                See also State v. Sinclair, 274 Md. 646, 650, 659, 337 A.2d 703 (1975). As the
                Supreme Court has also noted, the canon of ejusdem generis “limits general terms
                [that] follow specific ones to matters similar to those specified.” CSX Transp., Inc.
                v. Alabama Dept. of Revenue, 562 U.S. 277, 294 (2011).

                Here, by using the term “another place of public assembly,” the statute was
                obviously intended to include “another” place which is akin or similar to the places
                expressly mentioned in the same statutory sentence, viz. a “park,” a “church,” a
                “school” or a “public building.” Privately owned businesses or private property in

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                general are not like any of these specific places. Read literally, the bill’s definition
                of a “place of public assembly” dramatically expands the area subject to local
                regulation to include any place within 100 yards of a private business or private
                property that “may” be used as place of assembly as well as to any place within 100
                yards of a park, school, church or a public building. A place of public assembly as
                defined by this bill could cover a private business or a private home used as a place
                for a book club to meet, or a private property used to host any sort of event, no
                matter how small or limited in scope. It intrudes into private homes and businesses
                in a wholly unprecedented way. That is a vast overreach of legislative power by the
                County. It will not go unchallenged.

                Even if the definition of “another place of public assembly” is limited to private
                businesses, the term is unbelievably broad. Given the number of private businesses
                in the County, such application would expand the exception to a huge portion of the
                County, including literally thousands of private homes within a 100 yards of a
                business. This sweep into private homes is not saved by Section 57-11, as this bill
                amends Section 57-11 to directly regulate the mere possession of “a ghost gun or
                undetectable gun” in the person’s own home. The Section 4-209 exception for
                “another” place of public assembly simply cannot be reasonably read to allow such
                all-encompassing regulation of private possession in one’s own home. This is
                particularly so given that State law expressly permits home possession of firearms,
                including handguns. MD Code, Criminal Law, § 4-203(b)(6) (providing that a person
                may wear, carry or transport a handgun “on real estate that the person owns or
                leases”). Nothing in Section 4-209 allows the County to regulate home possession of
                firearms. For these reasons alone, the bill’s definition of “public assembly” will not
                survive judicial review. See Montgomery County v. Atlantic Guns, Inc., 302 Md.
                540, 489 A.2d 1114 (1985).

                The bill conflicts with State law in other ways. The bill amends Section 57-11 to
                regulate possession of a firearm and ammunition at a business, providing that such
                owner may possess a firearm only if the owner “has a permit to carry the firearm.”
                It similarly allows an authorized employee of the business to possess a firearm only
                if the employee “has a permit to carry the firearm.” These amendments (requiring
                the owner and the employee to have a permit) bring the bill into direct conflict with
                State law. Specifically, MD Code, Criminal Law, § 4-203(b), expressly provides that
                a person need not have a permit to transport a handgun between the residence “and
                the place of business of the person” if the business is owned substantially by that
                person (Section 4-203(b)(3)), and further provides that a person may, without a
                permit, wear and carry a handgun “within the confines of a business establishment
                that the person owns or leases” (Section 4-203(b)(6)). Section 4-203(b)(7) extends
                the same right to wear and carry a handgun, without a permit, to an authorized
                supervisory employee within the confines of the business. These State law
                provisions are also not limited to “one” firearm, much less to ammunition for that
                one firearm, as required by this bill. These provisions of State law bar the County
                from regulating possession of firearms by business owners and employees.

                Specifically, under the Express Powers Act, counties in Maryland have no power to
                pass legislation that is inconsistent with State law. See MD Code, Local

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                Government, §10-206(a) (providing that a county may pass an ordinance,
                resolution, or bylaw that is “not inconsistent with State law”). Thus, “[a] county may
                exercise the powers provided under this title only to the extent that the powers are
                not preempted by or in conflict with public general law.” (Id. at §10-206(b)). It is
                thus well established that a local law is preempted by conflict when the local law
                prohibits an activity which is permitted by State law, or permits an activity
                prohibited by state law. See City of Baltimore v. Sitnick, 254 Md. 303, 317, 255
                A.2d 376 (1969) (“a political subdivision may not prohibit what the State by general
                public law has permitted”). The bill obviously fails that test. Nothing in Section 4-
                209 allows the County to enact regulations that actually and directly ban conduct
                expressly permitted by State law. This County has already been rebuffed in its
                attempt to regulate ammunition by the Maryland Court of Appeals. See
                Montgomery County v. Atlantic Guns, Inc., 302 Md. 540, 489 A.2d 1114 (1985). The
                limited exception for regulation allowed in Section 4-209 cannot be construed to
                allow the County to directly contravene State law in this manner. See, e.g., Allied
                Vending, Inc. v. City of Bowie, 332 Md. 279, 297-98, 631 A.2d 77 (1993) (“state law
                may pre-empt local law in one of three ways: 1) pre-emption by conflict, 2) express
                pre-emption, or 3) implied pre-emption”).

                This bill also seeks to outlaw so called “ghost guns” to the extent possible and in so
                doing violates existing State law. For example, the bill bans the mere possession or
                transport of any firearm (including a ghost gun) within 100 yards of a place of public
                assembly. As noted, the bill expressly amends Section 57-11 to make clear that this
                ban applies to ghost guns in the home. As explained above, the County may not ban
                the possession of any firearms in the home as State law expressly permits such
                possession. MD Code, Public Safety, §4-203(b)(6). That includes ghost gun
                possessions in the home. The County may not regulate home possession of any
                firearm. Period. Full stop.

                The bill also provides that a person “must not” “sell, transfer, possess, transport, or
                use a computer code to create, a firearm through a 3D printing process.” That
                language is a grammatical mess. Does the bill ban the mere sale or possession of
                such code or does it ban such a sale or possession only when it is used “to create a
                firearm.” If it bans the former, then the bill is blatantly unconstitutional under the
                First Amendment and Second Amendment, as discussed below, and preempted, as
                discussed above. If it bans only the latter, then the bill is nonsense, as it is hard to
                envision a “transport” or “sale” of code that “creates” a gun. Such poor
                draftsmanship is intolerable in a bill that would attach penalties for a Class A
                violation. Sessions v. Dimaya, 138 S.Ct. 1204, 1212 (2018) (“the prohibition of
                vagueness in criminal statutes…is ‘essential’ of due process required by both
                ‘ordinary notions of fair play and the settled rules of law”) (citation omitted). See
                also Myers v. State, 248 Md. App. 422, 437, 241 A.3d 997 (2020) (“The United States
                Supreme Court has stated that ‘a vague law is no law at all.’”), quoting United
                States v. Davis, 139 S. Ct. 2319, 2323 (2019).

                The bill also bans “access” by a minor to any “major component” of a ghost gun and
                defines a major component to include “the slide or cylinder or the frame or receiver”
                or the barrel in the case of a rifle or shotgun. That limitation is inconsistent with

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                current State law that regulates access by a minor under the age of 16 to a loaded
                “firearm,” not merely access to an unloaded component of a firearm. MD Code,
                Criminal Law, § 4-104. Current State law allows such access to an entire firearm,
                including a loaded firearm, if the child under the age of 16 has a hunter safety
                certificate. (Id.). The statute also expressly permits such access if supervised “by an
                individual at least 18 years old.” (Id.). Once again, the bill improperly prohibits an
                activity permitted by State law.

                Similarly, the bill provides that a person “must not” sell, lend or otherwise transfer
                a ghost gun to a minor and bans the manufacture or assembly of “a gun” (any gun)
                in the mere presence of a minor, including in the home, by a parent or firearms
                instructor or other adult. These bans are directly contrary to State law, which
                provides that a minor (or any person under 21) may “transfer” and possess a
                regulated firearm (including a handgun) if that person is under the supervision of
                a person over 21 or being trained by an instructor. MD Code, Public Safety, § 5-
                133(d). Such firearms instruction by an adult also frequently includes cleaning
                firearms, which is a process that necessarily includes disassembly and assembly of
                a firearm. Yet, this bill would ban these activities expressly permitted by State law.
                Indeed, Section 4-209(b)(2) flatly prohibits the County from banning firearms
                training, including the training of minors. That is exactly what this bill does by
                banning the assembly of any firearm in the mere “presence” of a minor and by
                banning the use of a ghost gun in the training or supervised access expressly
                allowed by Section 5-133(d).

                The Bill Violates The First Amendment:

                The bill amends Section 57-11 to ban the mere possession, transport, sale or
                transfer of computer software. Yet, there is no doubt that computer “software” or a
                “computer program” is fully protected by the First Amendment. See, e.g., Junger v.
                Daley, 209 F.3d 481, 482 (6th Cir. 2000) (“Because computer source code is an
                expressive means for the exchange of information and ideas about computer
                programming, we hold that it is protected by the First Amendment.”); Universal
                City Studios, Inc. v. Corley, 273 F.3d 429, 449 (2d Cir. 2001) (“[C]omputer code, and
                computer programs constructed from code can merit First Amendment
                protection.”). Banning computer programs is thus akin to banning a book and
                banning distribution of computer code is thus akin to banning the distribution of a
                book. Legally, if passed, the bill would turn County law enforcement officers into
                censors and the County government into a bunch of book burners.

                The ban imposed by the bill is a purely “content-based” prior restraint on a First
                Amendment activities. See Reed v. Town of Gilbert, 135 S.Ct. 2218 (2015). It is well-
                established that prior restraints to speech are “the most serious and least tolerable
                infringement on First Amendment rights.” Nebraska Press Ass'n v. Stuart, 427 U.S.
                539, 559 (1976). Under Reed, a facially content-neutral law will still be categorized
                as content-based if it “cannot be “‘justified without reference to the content of the
                regulated speech,’” or ... adopted by the government ‘because of disagreement with
                the message [the speech] conveys.’” 135 S.Ct. at 2227, quoting Ward v. Rock Against
                Racism, 491 U.S. 781, 791 (1989). Here, there is nothing remotely facially neutral

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                about the bans imposed by this bill. The bans are based on the County’s
                “disagreement with the message.” Such a prior restraint on the message cannot
                stand. See Defense Distributed v. Dept. of State, 838 F.3d 451, 468-70 (5th Cir.
                2016), cert. denied 138 S.Ct. 638 (2018) (Jones, J. dissenting on other grounds)
                (reaching the merits of the First Amendment claim not considered by the majority
                and noting that the government’s restriction on the export of 3-D printing code was
                content-based and thus must be analyzed under strict scrutiny).

                Moreover, every American has a First Amendment right to receive information.
                Although the First Amendment refers only to the right to speak, courts have long
                recognized that the Amendment also protects the right to receive the speech of
                others. See First Nat'l Bank of Boston v. Bellotti, 435 U.S. 765 (1978) (stating that
                the “First Amendment ... afford[s] the public access to discussion, debate, and the
                dissemination of information and ideas”); Virginia State Bd. of Pharmacy v.
                Virginia Citizens Consumer Council, Inc., 425 U.S. 748 (1976) (ban on advertising
                of prescription drug prices overturned); Bigelow v. Virginia, 421 U.S. 809, (1975)
                (ban on abortion advertising invalid); Lamont v. Postmaster General, 381 U.S. 301,
                (1965) (a postal regulation limiting the importation of Communist publications
                overturned); Martin v. City of Struthers, 319 U.S. 141 (1943) (ordinance prohibiting
                door-to-door solicitation invalid as to distribution of leaflets announcing a religious
                meeting). Every person in Maryland has a constitutional right to receive, purchase
                or otherwise obtain the very computer software or programs that the bill would ban.

                The Bill Is Unconstitutional Under The Second Amendment:

                As noted, the bill would ban mere possession of a “ghost gun” within 100 yards of
                broad and vague definition of a place of public assembly, including banning
                possession in the home. This bill is thus a gun ban, pure and simple. Such a gun
                ban violates the Second Amendment right of owners to possess firearms under
                District of Columbia v. Heller, 554 U.S. 570 (2008), and McDonald v. Chicago, 561
                U.S. 742, 750 (2010). Even under the least demanding test (“intermediate
                scrutiny”), if the State can accomplish its legitimate objectives without a ban (a
                naked desire to penalize gun owners is not legitimate), then the State must use that
                alternative. McCullen v. Coakley, 134 S. Ct. 2518, 2534 (2014). Stated differently,
                under intermediate scrutiny, the State has the burden to demonstrate that its law
                does not “burden substantially more [protected conduct] than is necessary to further
                the government’s legitimate interest.” Id. at 2535, quoting Ward v. Rock Against
                Racism, 491 U.S. 781, 796 (1989). See also NY State Rifle & Pistol Ass’n. v. Cuomo,
                804 F.3d 242, 264 (2d Cir. 2015), cert. denied, 136 S.Ct. 2486 (2016) (striking down
                a 7 round load limit in a firearm magazine because the limit was “untethered from
                the stated rationale”). See also Reynolds v. Middleton, 779 F.3d 222, 232 (4th Cir.
                2015) (holding that, under the intermediate scrutiny test as construed in McCullen,
                the government must “prove that it actually tried other methods to address the
                problem”). (Emphasis in original).

                 The test for “strict scrutiny” is even more demanding as, under that test, the State
                must prove both a “compelling need” and that it used the “least” restrictive
                alternative in addressing that need. See United States v. Playboy Entm’t. Grp., Inc.,

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                529 U.S. 803, 813 (2000). More generally, the constitutionality of gun laws must be
                analyzed under the “text, history and tradition” test that was actually used in
                Heller and McDonald. See, e.g., Heller v. District of Columbia, 670 F.3d 1244, 1269
                (D.C. Cir. 2016) (Kavanaugh, J., dissenting) (“In my view, Heller and McDonald
                leave little doubt that courts are to assess gun bans and regulations based on text,
                history, and tradition, not by a balancing test such as strict or intermediate
                scrutiny.”). There is no “text, history or tradition” that could possibly support the
                types of bans imposed by this bill.

                The manufacture of a homemade firearm or the use of a 3-D printer to create a
                homemade gun or gun component does not make that gun illegal in the slightest
                under long-standing federal law and state law. Under federal law, a person may
                legally manufacture a firearm for his own personal use. See 18 U.S.C. § 922(a).
                However, “it is illegal to transfer such weapons in any way.” Defense Distributed v.
                United States, 838 F.3d 451, 454 (5th Cir. 2016). This manufacture “involves
                starting with an ‘80% lower receiver,’ which is simply an unfinished piece of metal
                that looks quite a bit like a lower receiver but is not legally considered one and may
                therefore be bought and sold freely. It requires additional milling and other work to
                turn into a functional lower receiver.” (Id).

                Manufacturing an “80% lower” into a “functional lower receiver” is not a trivial
                process. It takes machine tools, expertise and hours of time. Miscues are common
                and, when made, essentially convert the “80% lower” into scrap metal. Individuals
                who undertake this process are overwhelmingly hobbyists, not criminals. Even after
                the receiver is successfully made, the owner would still have to purchase the
                additional parts, such as a barrel, the trigger, slide and all the internal parts to
                complete the assembly. All these additional parts are expensive. With the cost of
                the tools to mill the receiver, plus the cost of the parts, a final assembled homemade
                gun costs more to make than it would to actually buy an identical gun from a dealer.
                This bill would ban the hobby and penalize the hobbyist for the continued
                possession of any gun (within a 100 yards of a place of public assembly) that the
                hobbyist constructed prior to the enactment of the law. That result likely includes
                literally thousands of law-abiding people in Montgomery County.

                Banning manufacture or the mere possession of any gun made by a 3-D printer,
                cannot be justified under any of these tests applicable to the Second Amendment.
                The bills’ ban on the use of computers is akin to the argument that the Second
                Amendment protects only muskets that were used during the Revolutionary War,
                a contention that the Court in Heller rejected as “bordering on the frivolous.” Heller,
                554 U.S. at 582. Indeed, almost all firearms are manufactured using computer
                software. The County simply may not ban the possession of these types of arms. See
                Defense Distributed v. Dept. of State, 121 F.Supp.3d 680, 699 (W.D. Tex. 2015),
                aff’d, 838 F.3d 451 (5th Cir. 2016), cert. denied, 138 S.Ct. 638 (2018) (sustaining a
                regulation of 3-D printed guns under the Second Amendment because plaintiffs
                were “not prohibited from manufacturing their own firearms” and were “not
                prohibited from acquiring the computer files at issue”).




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                Heller held that guns in “common use” by law abiding persons are prima facie
                protected arms under the Second Amendment. Heller, 554 U.S. at 627. Homemade
                guns easily satisfy this requirement as there are literally tens of thousands of such
                guns made over many years throughout the United States. Guns for personal use
                have been made at home for centuries, even before the Revolutionary War. The
                Council simply may not disregard that reality. See Caetano v. Massachusetts, 136
                S.Ct.1027 (2016) (summarily reversing Massachusetts’ highest court for failing to
                follow the reasoning of Heller in sustaining a state ban on stun guns); Ramirez v.
                Commonwealth, 479 Mass. 331, 332, 352 (2017) (on remand from Caetano, holding
                that “the absolute prohibition against civilian possession of stun guns under § 131J
                is in violation of the Second Amendment” and declaring the State’s absolute ban to
                be “facially invalid”). Homemade guns are at least as much “in common use” as stun
                guns at issue in Caetano.

                Here, the supposed evil that this bill purports to address is guns without serial
                numbers because such guns are not “traceable.” Yet, tracing runs out after
                identification of the gun’s first purchaser and firearms may be sold and resold many
                times in their lifetime. Criminals, who may not possess firearms at all, will not be
                deterred by the bill as possession of a firearm by a prohibited person is already a
                10-year federal felony, 18 U.S.C. § 922(g), and a serious crime under existing State
                law, MD Code, Public Safety, § 5-101(g)(3), § 5-133(b)(1), § 5-205(b)(1). The few
                crimes that are solved by tracing guns left at a crime scene are only a small fraction
                of guns used in crimes because very few guns are actually traced by the ATF. See
                David B. Kopel, Clueless: The Misuse of BATF Firearms Tracing Data.
                http://www.davekopel.org/2A/LawRev/CluelessBATFtracing.htm. See also Police
                Departments          Fail       to      Regularly       Trace       Crime        Guns.
                https://www.thetrace.org/2018/12/police-departments-gun-trace-atf/. The ATF itself
                has cautioned against any use of trace data, noting that “[t]he firearms selected [for
                tracing] do not constitute a random sample and should not be considered
                representative of the larger universe of all firearms used by criminals, or any subset
                of that universe.” Bureau of Alcohol, Tobacco, Firearms and Explosives. Firearms
                Trace       Data,       2016:        Maryland,       https://www.atf.gov/docs/163521-
                mdatfwebsite15pdf/download. As the ATF further notes, “[n]ot all firearms used in
                crime are traced and not all firearms traced are used in crime,” stating further that
                “[f]irearms are normally traced to the first retail seller, and sources reported for
                firearms traced do not necessarily represent the sources or methods by which
                firearms in general are acquired for use in crime.”

                But, if the concern is truly that these guns lack a serial number (rather than a
                desire to penalize gun owners), then that concern can be addressed without banning
                homemade guns. Specifically, there are alternatives to bans. For example, a new
                law passed in California (which is ranked by the Giffords Law Center as having the
                most restrictive gun laws in the nation) provides that a new resident to the state
                shall apply to the Department of Justice for a unique serial number within 60 days
                of arrival for any firearm the resident wishes to possess in the state that the
                resident previously self-manufactured or self-assembled or a firearm the resident
                owns, that does not have a unique serial number or other mark of identification. As
                of July 1, 2018, prior to manufacturing or assembling a new firearm, a person is

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                required to apply to California for a unique serial number. The gun owner is then
                simply required to engrave that number onto the receiver and report back to
                California that he or she has done so. As of January 1, 2019, owners of existing guns
                were required to apply for such serial numbers and perform this engraving. See
                California Penal Code §§ 29180-29184.

                In short, assembly of new homemade guns and existing possession is permitted as
                long as this serial number is obtained, engraved and reported. California Penal
                Code §29180. In this way, the owner is identified and the gun is fully “traceable”
                and thus no longer a so-called “ghost gun.” As this law indicates, there is no reason
                to take the extreme step of flatly banning homemade guns or converting existing
                owners into criminals. Under Heller, the County may not simply reject this
                alternative simply because a general ban is more convenient or cheaper. Gun
                owners may not be penalized for such flimsy reasons. See, e.g., Board of Estimate
                of City of New York v. Morris, 489 U.S. 688, 702 n.10 (1989); Heller v. District of
                Columbia, 801 F.3d 264, 310 (D.C. Cir. 2015) (Henderson, J., concurring in part and
                dissenting in part). Indeed, in 2018, the House Judiciary Committee in the General
                Assembly favorably reported a bill (HB 740) that expressly required the State Police
                to conduct a study of this California alternative. Such legislation may be enacted in
                the future. The Council has no role in such State-wide matters.

                In sum, the Council should not venture out on this ill-conceived regulatory
                adventure that will, more likely than not, be struck down as preempted or otherwise
                invalidated by the courts. Waiting for the State to act also makes fiscal sense. If the
                State General Assembly decides to regulate “ghost guns,” then the substantial
                litigation costs associated with defending that policy will be borne by the State, not
                by the County. Such legislation, if enacted by the General Assembly, will also
                undoubtedly conflict in some way with the bans that would be imposed by this bill,
                thereby resulting in the preemption of the County law. The Council should await
                action by the General Assembly. “Feel good” legislation is no substitute for sound
                legal judgment.

                Sincerely,



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